     Case 3:23-cv-00950-L Document 14 Filed 01/16/24                  Page 1 of 2 PageID 61



                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

JESUS LULE,                                       §
     Plaintiff,                                   §
                                                  §
v.                                                §    CIVIL ACTION NO. 3:23-cv-950
                                                  §
MELVIN WILLIAMS,                                  §
    Defendant.                                    §

                                    JOINT STATUS REPORT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff Jesus Lule, and Defendant, Melvin Williams, (jointly, the

“Parties”), and file this Joint Status Report setting forth the status of negotiations pursuant to this

Court’s Scheduling Order (ECF 12), and would show the Court as follows:

       The Parties are in the early stages of discussing a demand and counteroffer based off the

facts and damages in this case.

                                               Respectfully submitted,

                                               SCOTT H. PALMER, P.C.

                                               /s/James P. Roberts
                                               JAMES P. ROBERTS
                                               Texas Bar No. 24105721

                                               Scott H. Palmer, P.C.
                                               15455 Dallas Parkway, Suite 540
                                               Addison, Texas 75001
                                               Telephone: 214.987.4100
                                               Facsimile: 214.922.9900
                                               james@scottpalmerlaw.com

                                               ATTORNEYS FOR PLAINTIFF

                                               /s/ Mark E. Goldstucker (w/ permission)
                                               Mark E. Goldstucker
                                               State Bar of Texas No. 08104100



                                                                                     Page 1 of 2
    Case 3:23-cv-00950-L Document 14 Filed 01/16/24               Page 2 of 2 PageID 62



                                            Email: mgoldstucker@gmail.com

                                            Law Office of Mark E. Goldstucker
                                            300 North Coit Road, Suite 1125
                                            Richardson, Texas 75080
                                            Telephone: 972-479-1112
                                            Fax: 972-479-1113

                                            Attorney for Defendant



                               CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was forwarded to

all counsel of record, in a manner authorized by Rule 5, of the Federal Rules of Civil Procedure,

on January 16, 2024.

                                            /s/James P. Roberts
                                            James P. Roberts




                                                                                Page 2 of 2
